     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 1 of 31




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

                                      )
NO SPILL INC.,                        )
                                      )
                        Plaintiff,    )
v.                                    )   Case No. 18-cv-2683 JAR/KGG
                                      )
SCEPTER CORPORATION and               )
SCEPTER MANUFACTURING LLC,            )
                                      )
                        Defendants.   )
                                      )
                                      )




  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS FOR
 LACK OF PERSONAL JURISDICTION AND FAILURE TO STATE A CLAIM, OR
    ALTERNATIVELY, TO TRANSFER TO THE DISTRICT OF DELAWARE
       Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 2 of 31




                                                TABLE OF CONTENTS


                                                                                                                                     Page

I.      NATURE OF THE MATTER BEFORE THE COURT .....................................................1

II.     CONCISE STATEMENT OF FACTS ................................................................................2

III.    QUESTIONS PRESENTED................................................................................................3

IV.     ARGUMENT .......................................................................................................................3

        A.        The District of Kansas Has No Personal Jurisdiction over Scepter
                  Corporation ..............................................................................................................3

                  1.         No Spill bears the burden of establishing that the District of
                             Kansas has personal jurisdiction over Scepter Corporation. .......................3

                  2.         Scepter Corporation is not “at home” in Kansas, thus there is no
                             general jurisdiction.......................................................................................5

                  3.         No Spill cannot establish personal jurisdiction over Scepter
                             Corporation based on the acts of Scepter Manufacturing. ...........................5

        B.        The Patent Claims Should Be Dismissed Because No Spill Knew or
                  Should Have Known That It Filed Suit in an Improper Forum ...............................7

        C.        No Spill Fails to Adequately Plead a Breach, Thus Its Contract Claims
                  Should Be Dismissed ...............................................................................................8

                  1.         No Spill fails to plead adequate facts to support a breach of
                             contract based on failure to meet production requirements. ........................9

                  2.         No Spill fails to plead adequate facts to support a breach of
                             contract based on failure to sell the Bekum molding machine. .................11

        D.        No Spill Does Not and Cannot Adequately Plead Distinctiveness and Non-
                  Functionality, Thus Its Trade Dress Claims Should Be Dismissed .......................12

                  1.         The features of No Spill’s alleged “trade dress.” .......................................13

                  2.         No Spill’s alleged gas can design is functional on its face and the
                             Complaint contains no factual allegations demonstrating otherwise. ........14

                  3.         No Spill fails to adequately plead that its gas can design has
                             acquired distinctiveness. ............................................................................16



                                                              i
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 3 of 31




      E.        The Entire Case Should Be Dismissed, or Alternatively, Transferred to the
                District of Delaware Where Venue Is Proper. .......................................................19

                1.         Plaintiff’s choice of forum is entitled to little weight. ...............................20

                2.         Convenience of witnesses strongly favors transfer. ...................................21

                3.         Judicial economy strongly favors transfer. ................................................22

                4.         Neither court has an appreciably more congested docket. .........................22

                5.         The remaining factors cannot overcome the significant efficiency
                           gained by transfer. ......................................................................................22

V.    CONCLUSION ..................................................................................................................23




                                                          ii
        Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 4 of 31




                                                  TABLE OF AUTHORITIES

                                                                                                                                Page(s)

                                                                CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...............................................................................................................7, 9

Autogenomics, Inc. v. Oxford Gene Tech. Ltd.,
   566 F.3d 1012 (Fed. Cir. 2009)..................................................................................................4

Avocent Huntsville Corp. v. Aten Int’l Co.,
   552 F.3d 1324 (Fed. Cir. 2008)..................................................................................................6

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................9

Bovino v. Incase Designs Corp.,
   No. 13-cv-2106-WJM-MJW, 2014 WL 1796914 (D. Colo. May 6, 2014) .............................21

C5 Med. Werks, LLC v. CeramTec GmbH,
   249 F. Supp. 3d 1210 (D. Colo. 2017) .....................................................................................12

Callahan v. Bledsoe,
   No. 16-CV-2310-JAR-GLR, 2017 WL 1303269 (D. Kan. Apr. 6, 2017) ...............................21

Celgard, LLC v. SK Innovation Co., Ltd.,
   792 F.3d 1373 (Fed. Cir. 2015)..........................................................................................3, 4, 6

Cryovac, Inc. v. Pechiney Plastics Packaging, Inc.,
   No. Civ. A. 04-1278-KAJ, 2006 WL 1493840 (D. Del. May 25, 2006) .................................22

Deckers Outdoor Corp. v. Fortune Dynamic, Inc.,
   No. CV 15-769 PSG, 2015 WL 12731929 (C.D. Cal. May 8, 2015) ......................................15

Diaz-Oropeza v. Riverside Red X, Inc.,
   No. 11-2012-JTM, 2011 WL 2580167 (D. Kan. June 28, 2011)...............................................8

Dinkum Sys., Inc. v. Woodman Labs, Inc.,
   No. 14-CV-00152-PAB-KMT, 2014 WL 4437310 (D. Colo. Sept. 8, 2014) ...................14, 16

Domo, Inc. v. Grow, Inc.,
  No. 2:17-CV-812, 2018 WL 2172937 (D. Utah May 10, 2018) ...........................14, 15, 17, 18

Dudnikov v. Chalk & Vermillion Fine Arts, Inc.,
   514 F.3d 1063 (10th Cir. 2008) .................................................................................................4




                                                               iii
        Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 5 of 31




Emp’rs Mut. Cas. Co. v. Bartile Roofs, Inc.,
  618 F.3d 1153 (10th Cir. 2010) ...............................................................................................20

Forney Indus., Inc. v. Daco of Mo., Inc.,
   835 F.3d 1238 (10th Cir. 2016) .............................................................................12, 17, 18, 19

Goodyear Dunlop Tires Operations, S.A. v. Brown,
   564 U.S. 915 (2011) ...........................................................................................................4, 5, 6

Grober v. Mako Prods., Inc.,
   686 F.3d 1335 (Fed. Cir. 2012)..................................................................................................6

Hammerton, Inc. v. Heisterman,
  No. 2:06-CV-00806 TS, 2008 WL 2004327 (D. Utah May 9, 2008) ......................................17

Helicopteros Nacionales de Colombia, S.A. v. Hall,
   466 U.S. 408 (1984) ...................................................................................................................6

Ingenito v. Riri USA, Inc.,
   89 F. Supp. 3d 462 (E.D.N.Y. 2015) .........................................................................................5

Inspired By Design, LLC v. Sammy’s Sew Shop, LLC,
    No. 16-CV-2290, 2016 WL 6093778 (D. Kan. Oct. 19, 2016) .........................................18, 19

Int’l Shoe Co. v. Washington,
    326 U.S. 210 (1945) ...................................................................................................................4

Jenny Yoo Collection, Inc. v. Essence of Australia, Inc.,
   No. 17-2666-JAR-GLR, 2018 WL 3744060 (D. Kan. Aug. 7, 2018) ...............................12, 14

Mike Vaughn Custom Sports, Inc. v. Piku,
   15 F. Supp. 3d 735 (E.D. Mich. 2014).....................................................................................14

Millett v. Truelink, Inc.,
   No. Civ. 05-599-SLR, 2006 WL 2583100 (D. Del. Sept. 7, 2006) .........................................23

Nat’l Inst. for Strategic Tech. Acquisition & Commercialization v. Nissan N.A.,
   No. 10-1346-SAC, 2011 WL 915392 (D. Kan. Mar. 15, 2011) ........................................21, 22

Quarles v. Fuqua Indus., Inc.,
   504 F.2d 1358 (10th Cir. 1974) .................................................................................................7

Red Wing Shoe Co. v. Hockerson-Halberstadt, Inc.,
   148 F.3d 1355 (Fed. Cir. 1998)..................................................................................................4

Sally Beauty Co. v. Beautyco, Inc.,
    304 F.3d 964 (10th Cir. 2002) .................................................................................................17




                                                               iv
        Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 6 of 31




Savant Homes, Inc. v. Collins,
   809 F.3d 1133 (10th Cir. 2016) ...................................................................................12, 17, 18

Smalls v. Stermer,
   No. 10-3025-JTM, 2011 WL 1234781 (D. Kan. Mar. 31, 2011) ..............................................7

Sprint Comm’n, L.P. v. Cox Comm’n, Inc.,
   896 F. Supp. 2d 1049 (D. Kan. 2012) .............................................................................. passim

Swierkiewicz v. Sorema N.A.,
   534 U.S. 506 (2002) ...................................................................................................................8

TC Heartland LLC v. Kraft Foods Group Brand LLC,
   137 S. Ct. 1514 (2017) ...............................................................................................................8

TrafFix Devices, Inc. v. Mktg. Displays, Inc.,
   532 U.S. 23 (2001) .......................................................................................................14, 16, 19

Trujillo v. Williams,
   465 F.3d 1210 (10th Cir. 2006) .................................................................................................8

Virgin Scent, Inc. v. Bel Air Naturals Care Corp.,
   No. 17-08284-AB, 2018 WL 5264145 (C.D. Cal. Feb. 8, 2018) ............................................14

Wal-Mart Stores v. Samara Bros., Inc.,
   529 U.S. 205 (2000) .................................................................................................................17

Winning Ways, Inc. v. Holloway Sportswear, Inc.,
   913 F. Supp. 1454 (D. Kan. 1996) ...........................................................................................18

                                                             STATUTES

15 U.S.C. § 1125(a)(3) ...................................................................................................................14

28 U.S.C. § 1404(a) .................................................................................................................20, 21

Iowa Code Ann. § 214A.15 .....................................................................................................16, 19

                                                                RULES

Fed. R. Civ. Proc. 8(a)(2) .................................................................................................................8

Fed. R. Civ. Proc. 12(b)(2) ..............................................................................................................7

Fed. R. Civ. Proc. 12(b)(3) ..............................................................................................................7

Fed. R. Civ. Proc. 12(b)(6) ............................................................................................................15




                                                                v
        Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 7 of 31




                                                       REGULATIONS

29 C.F.R. § 1910.144 ...............................................................................................................16, 19




                                                              vi
      Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 8 of 31




I.     NATURE OF THE MATTER BEFORE THE COURT

       This case involves three types of claims (patent, contract, and trade dress) all related to the

same subject matter—portable plastic fuel containers manufactured by Scepter Manufacturing,

LLC (“Scepter Manufacturing”). But the central claims in this case are the patent claims, asserted

only against Scepter Corporation, which is a Canadian corporation that no longer exists. As such,

this case does not belong in this District.

       The District of Kansas cannot exercise personal jurisdiction (either general or specific)

over Scepter Corporation. As to general jurisdiction, Scepter Corporation has not been operating

for almost five years. Thus, Scepter Corporation has no “systematic and continuous” contacts that

would render Kansas its home, nor does No Spill allege so. As to specific jurisdiction, No Spill

only alleges that the patent claims arise from Scepter Corporation’s “direction and control” of

Scepter Manufacturing. But, even if Scepter Corporation did exist (and it does not), No Spill fails

to allege any facts to support such allegations. And, even if No Spill could allege such facts (which

it cannot), they would be insufficient to confer personal jurisdiction over Scepter Corporation

because separate corporate entities are treated as such unless evidence justifies disregard of the

corporate form.

       The remaining nominal contract and trade dress claims (tacked on to the patent claims in a

failed attempt to maintain jurisdiction in this District) are similarly deficient. As to the contract

claims, No Spill fails to allege sufficient facts to support a claim for breach. As to the trade dress

claims, No Spill fails to plead distinctiveness and non-functionality required for trade dress.

       Accordingly, this entire case should be dismissed for lack of personal jurisdiction and

failure to state a claim. But to the extent these claims survive dismissal, this Court should transfer




                                              1
      Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 9 of 31




this entire case to the District of Delaware where the forum is proper and these claims can be

efficiently litigated together.

II.     CONCISE STATEMENT OF FACTS

        1.      The Complaint includes six claims: two patent infringement claims asserted against

Scepter Corporation (Doc. 1 ¶¶ 56-73), two breach of contract claims asserted against Scepter

Manufacturing (id. ¶¶ 74-132), and two trade dress claims asserted against both Scepter

Manufacturing and Scepter Corporation (id. ¶¶ 133-149).

        2.      Scepter Manufacturing is incorporated in and exists under the laws of Delaware

and maintains its principal place of business in Miami, Oklahoma. Id. ¶ 2. Its parent, Scepter US,

is incorporated in and exists under the laws of Ohio and maintains its principal place of business

in Akron, Ohio. Id. ¶ 3.

        3.      Scepter Manufacturing is a wholly-owned subsidiary of Scepter US. Id. ¶ 2.

Scepter US is a wholly-owned subsidiary of Myers Industries, Inc. (“Myers Industries”). Id. The

“Scepter” brand is known as a leading producer of portable plastic fuel containers, portable marine

fuel tanks and water containers, ammunition containers, and storage totes. Id., Attachment A at 4.

        4.      Scepter Corporation was an Ontario, Canada corporation that no longer exists

today. Id. ¶ 6. In 2014, Myers Industries completed its acquisition of Scepter Corporation,

transferring substantially all assets of Scepter Corporation to CA Acquisitions Inc., an Ontario,

Canada corporation that was later named Scepter Canada Inc. (“Scepter Canada”). Id.; see also

id., Attachment B. As part of the Asset Purchase Agreement, Scepter Corporation changed its

name to 1216037 Ontario, Inc., a numbered Ontario corporation. Id., Attachment B at 55. Scepter

Canada is a wholly-owned subsidiary of Myers Industries. Id. ¶ 5.




                                             2
       Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 10 of 31




        5.     On March 4, 2019, counsel for Scepter Manufacturing notified counsel for No Spill

that the District of Kansas was not a proper forum for the asserted patent infringement claims for

lack of personal jurisdiction. Declaration of Lisa K. Nguyen (“Nguyen Decl.”), Ex. A. On March

8, 2019, counsel for No Spill responded: “We are reviewing and will respond to your assertions at

the appropriate time.” Id., Ex. B. No Spill has provided no further response.

III.    QUESTIONS PRESENTED

        1.     Can the District of Kansas assert personal jurisdiction over Scepter Corporation, an

Ontario corporation that no longer exists?

        2.     Should the contract claims be dismissed for failure to adequately plead a breach?

        3.     Should the trade dress claims be dismissed for failure to adequately plead

distinctiveness and non-functionality?

        4.     In the event that the claims survive dismissal, should this entire case be transferred

to the District of Delaware where venue is proper and all claims can be litigated together?

IV.     ARGUMENT

        A.     The District of Kansas Has No Personal Jurisdiction over Scepter
               Corporation

        The patent claims should be dismissed because the District of Kansas cannot assert

personal jurisdiction over Scepter Corporation. 1

               1.      No Spill bears the burden of establishing that the District of
                       Kansas has personal jurisdiction over Scepter Corporation.

        As plaintiff, No Spill bears the burden of showing that jurisdiction is proper. Celgard, LLC



1
 Further, substituting Scepter Corporation with its successor in business, Scepter Canada, would
be futile. Scepter Canada likewise has no contacts with Kansas to support the exercise of either
general or specific personal jurisdiction in this District. See Marshall Decl. ¶¶ 8-9.



                                             3
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 11 of 31




v. SK Innovation Co., Ltd., 792 F.3d 1373, 1378 (Fed. Cir. 2015). 2 The personal jurisdiction

determination for an out-of-state defendant is a two-step inquiry: “whether a forum state’s long-

arm statute permits service of process and whether assertion of personal jurisdiction violates due

process.” Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d 1012, 1017 (Fed. Cir. 2009).

“The Kansas long-arm statute is construed liberally so as to allow jurisdiction to the full extent

permitted by due process, therefore the Court proceeds directly to the constitutional analysis.”

Sprint Comm’n, L.P. v. Cox Comm’n, Inc., 896 F. Supp. 2d 1049, 1055 (D. Kan. 2012).

       “Due process requires that the defendant have sufficient ‘minimum contacts with [the

forum state] such that maintenance of the suit does not offend traditional notions of fair play and

substantial justice.’” Celgard, 792 F.3d at 1377 (quoting Int’l Shoe Co. v. Washington, 326 U.S.

210, 316 (1945)).     “Minimum contacts” can be established either by general or specific

jurisdiction. Sprint, 896 F. Supp. 2d at 1055. General jurisdiction exists only where “the

continuous corporate operations within a state [are] so substantial and of such a nature as to justify

suit against it on causes of action arising from dealings entirely distinct from those activities.”

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011).                  “Specific

jurisdiction, on the other hand, is premised on something of a quid pro quo: in exchange for

‘benefitting’ from some purposive conduct directed at the forum state, a party is deemed to consent

to the exercise of jurisdiction for claims related to those contacts.” Sprint, 896 F. Supp. 2d at 1055

(quoting Dudnikov v. Chalk & Vermillion Fine Arts, Inc., 514 F.3d 1063, 1078 (10th Cir. 2008)).

Here, No Spill does not and cannot allege any contacts, let alone minimum contacts, to support

general or specific jurisdiction over Scepter Corporation.


2
 The Court “applies the law of the Federal Circuit, rather than that of the regional circuits, to
determine personal jurisdiction in a patent infringement case.” Red Wing Shoe Co. v. Hockerson-
Halberstadt, Inc., 148 F.3d 1355, 1358 (Fed. Cir. 1998).


                                              4
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 12 of 31




               2.      Scepter Corporation is not “at home” in Kansas, thus there is
                       no general jurisdiction.

       “For an individual, the paradigm forum for the exercise of general jurisdiction is the

individual’s domicile; for a corporation, it is an equivalent place, one in which the corporation is

fairly regarded as at home.” Goodyear, 564 U.S. at 924. Generally, a corporation’s “home” refers

to its “domicile, place of incorporation, and principal place of business.” Id. To establish general

jurisdiction, the plaintiff must show that the “affiliations with [a forum] are so ‘continuous and

systematic’ as to render [the defendant] essentially home” there. Id. Here, No Spill does not and

cannot allege that Scepter Corporation has continuous and systematic contacts with the District of

Kansas, because it no longer exists and has not been operating for almost five years. Marshall

Decl. ¶ 6.

       In Ingenito v. Riri USA, Inc., the district court determined whether it could exercise

personal jurisdiction over Riri Group, which “was, at one time, a separate corporate entity, but was

merged . . . [and] no longer exists as an entity incorporated in any jurisdiction.” 89 F. Supp. 3d

462, 469 (E.D.N.Y. 2015). As it no longer existed, Riri Group did “not do business in the state,”

was “not a taxable entity,” and did “not have income, assets, employees, or any separate business

of its own.” Id. The district court found no personal jurisdiction, concluding that Riri Group SA

was not a legal entity and “[e]ven assuming Riri Group did exist as a separate entity, Plaintiff ha[d]

alleged no facts that would support a finding of jurisdiction.” Id. at 474. The same conclusion

follows here. Scepter Corporation does not exist, and even if it did, No Spill has not (because it

cannot) alleged facts to support general jurisdiction.

               3.      No Spill cannot establish personal jurisdiction over Scepter
                       Corporation based on the acts of Scepter Manufacturing.

       Specific jurisdiction is confined to the adjudication of issues that “aris[es] out of or relate[s]



                                               5
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 13 of 31




to the defendant’s contacts with the forum.” Goodyear, 564 U.S. at 923 (quoting Helicopteros

Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n.8 (1984)). Specific jurisdiction is

determined by applying a three-part test: “(1) whether the defendant purposefully directed its

activities at residents of the forum state, (2) whether the claim arises out of or relates to the

defendant's activities with the forum state, and (3) whether assertion of personal jurisdiction is

reasonable and fair.” Celgard, 792 F.3d at 1378 (citing Grober v. Mako Prods., Inc., 686 F.3d

1335, 1346 (Fed. Cir. 2012)). As discussed above, Scepter Corporation no longer exists, and

therefore, does not and cannot purposefully direct its activities at Kansas. Thus, assertion of

specific jurisdiction fails at the first prong of the test.

        Further, No Spill fails at the second prong of the test.        To establish direct patent

infringement, there must be “some act of making, using, offering to sell, selling, or importing

products or services by the defendant [that] constitutes an infringement of the presumptively valid

patent named in the suit.” Sprint, 896 F. Supp. 2d at 1063. As such, “the patent infringement

claims in this case must ‘arise out of and relate to the defendant’s alleged manufacturing, using, or

selling of the claimed invention’ in order to establish specific jurisdiction.” Id. (quoting Avocent

Huntsville Corp. v. Aten Int’l Co., 552 F.3d 1324, 1332 (Fed. Cir. 2008)). Here, No Spill’s patent

claims do not arise from such activities by Scepter Corporation in this District. Rather, No Spill

alleges that they arise from Scepter Corporation’s activities with Scepter Manufacturing, a

Delaware corporation based in Oklahoma, not named as a defendant to the patent claims. Thus,

the second prong of the specific jurisdiction test is not met.

        To the extent that No Spill attempts to confer specific jurisdiction over Scepter Corporation

through the acts of Scepter Manufacturing, that also fails. The only allegation in the Complaint




                                                 6
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 14 of 31




that relates to personal jurisdiction over Scepter Corporation is a single conclusory and

unsupported statement:

       The Court has personal jurisdiction over Scepter, an alien, because Scepter has transacted
       business and/or committed tortious acts and/or participated in, directed, controlled and
       actively aided and abetted the commission of tortious acts within the State of Kansas out
       of which this action arises.

Doc. 1 ¶ 5. But a legal conclusion by itself is insufficient to support personal jurisdiction as a

matter of law. “While legal conclusions can provide the framework of a complaint, they must be

supported by factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (emphasis added).

No Spill does not allege such facts.

       Regardless, even if No Spill could allege such facts (which it cannot), jurisdiction over

Scepter Corporation cannot be based on the activities of Scepter Manufacturing without evidence

justifying disregard of the corporate form. It is a “well-settled proposition that a ‘holding or parent

company has a separate corporate existence from its subsidiary and is thus treated separately in the

absence of circumstances justifying the disregard of the corporate entity.’” Sprint, 896 F. Supp.

2d at 1057 (quoting Quarles v. Fuqua Indus., Inc., 504 F.2d 1358, 1362 (10th Cir. 1974)). Here,

No Spill has alleged no facts regarding the relationship between Scepter Corporation and Scepter

Manufacturing, let alone facts justifying the disregard of the corporate structure. Accordingly, this

District cannot exercise specific jurisdiction over Scepter Corporation.

       B.      The Patent Claims Should Be Dismissed Because No Spill Knew or
               Should Have Known That It Filed Suit in an Improper Forum

       The patent claims should be dismissed because No Spill should have realized the District

of Kansas is an improper forum for the patent claims. Once a court determines that a Rule 12(b)(2)

or 12(b)(3) motion to dismiss is appropriate, “the court is faced with two options: dismiss

plaintiff’s claims against [defendants] or transfer the case to the proper jurisdiction.” Smalls v.

Stermer, No. 10-3025-JTM, 2011 WL 1234781, at *6 (D. Kan. Mar. 31, 2011). When deciding

                                              7
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 15 of 31




whether to dismiss or transfer, a court looks at several factors, including “whether the original

action was filed in good faith rather than filed after ‘plaintiff either realized or should have realized

that the forum in which he or she filed was improper.’” Diaz-Oropeza v. Riverside Red X, Inc.,

No. 11-2012-JTM, 2011 WL 2580167, at *5 (D. Kan. June 28, 2011); Trujillo v. Williams, 465

F.3d 1210, 1223 n. 16 (10th Cir. 2006). Here, No Spill almost certainly knew that the District of

Kansas is an improper forum for such claims.

        No Spill admits that Scepter Manufacturing allegedly infringes its patent claims, not

Scepter Corporation. Doc. 1 ¶ 23. Thus, No Spill knew that Scepter Manufacturing should have

been named as a defendant for the patent claims in this action, not Scepter Corporation. But this

District is not a proper forum for patent claims against Scepter Manufacturing due to recent

Supreme Court precedent. 3 Rather than assert the patent claims against Scepter Manufacturing in

a forum where both jurisdiction and venue are proper, No Spill alleged patent claims against

Scepter Corporation (without factual support) in an attempt to manufacture jurisdiction over those

claims in this District. Such action is improper, and should be deterred by dismissal.

        C.      No Spill Fails to Adequately Plead a Breach, Thus Its Contract
                Claims Should Be Dismissed

        No Spill alleges two counts of contract breach: failure to meet production requirements

and refusal to honor a purchase option for a mold machine. Federal Rule of Civil Procedure 8(a)(2)

requires that a complaint contain “a short and plain statement of the claim showing that the pleader

is entitled to relief” to give the defendant adequate notice of what the plaintiff’s claim is and the

grounds of that claim. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002). The



3
  The Supreme Court in TC Heartland LLC v. Kraft Foods Group Brand LLC, 137 S. Ct. 1514
(2017), narrowed proper venue in a patent case to the defendant’s place of incorporation or regular
and established place of business. Scepter Manufacturing indisputably meets neither requirement.
Marshall Decl. ¶¶ 2, 11.


                                               8
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 16 of 31




determination of the sufficiency of a claim is a two-step process. First, the court must determine

if the allegations are factual and entitled to an assumption of truth or merely legal conclusions that

are not entitled to an assumption of truth. Iqbal, 556 U.S. at 679. Second, the court must determine

whether the factual allegations, when assumed true, “plausibly give rise to an entitlement to relief.”

Id. The complaint must contain “enough facts to state a claim to relief that is plausible on its face.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Plausibility requires more than “a sheer

possibility.” Iqbal, 556 U.S. at 678. Thus “a formulaic recitation of the elements of a cause of

action,” standing alone, is insufficient to survive a motion to dismiss. Twombly, 550 U.S. at 555.

Here, No Spill fails to plead facts for either of its contract claims that would constitute more than

“a sheer possibility” of breach.

               1.      No Spill fails to plead adequate facts to support a breach of
                       contract based on failure to meet production requirements.

       No Spill first alleges breach of contract for failure to meet production requirements by

refusing to keep the required level of truck load inventory on hand (Doc. 1 ¶ 103), refusing to

supply order quantities submitted (id. ¶ 104), and refusing to manufacture No Spill’s orders on

weekends without additional charge (id. ¶ 106). But none of these claims are adequately pled.

       With respect to inventory on hand, No Spill never alleges any facts as to the level of

inventory Scepter Manufacturing maintained nor how that level breached the requirements. In

particular, No Spill identifies three provisions allegedly breached by Scepter Manufacturing:

       86. Pursuant to the Supply Agreement, defendant Scepter Manufacturing agreed to: “. . .
       stock approximately eight (8) to ten (10) truck-loads of Product and all production will be
       made to purchase order based on a fourteen (14) day lead time. The initial purchase order
       of eight (8) to ten (10) truck loads will be warehoused by Supplier. This stock will be used
       to fill new purchase orders and then replenished as used (FIFO)” (Id. ¶ 4(a)).

       87. Within the First Amendment, the above provision was changed to increase defendant
       Scepter Manufacturing’s inventory obligation as follows: “Supplier agrees to increase the
       current stock of 10 truck-loads of Product 20003 [5 gallon gasoline cans] to 11 truck-loads.
       Supplier agrees to stock 4 truck-loads of Product 20004 [5 gallon diesel cans].”

                                              9
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 17 of 31




       88. Thereafter the parties agreed to increase the quantity of truck-loads Scepter
       Manufacturing was required to have on hand to 15.

Doc. 1 ¶¶ 86-88. But Scepter Manufacturing fails to specify the relevant time period for each of

these requirements, the specific levels maintained by Scepter Manufacturing during those periods,

and how such levels were allegedly insufficient. Ultimately, No Spill alleges no facts to establish

how these provisions were breached.

       With respect to the failure to meet order quantities and refusal to manufacture on the

weekends without additional charge, No Spill only asserts a single legal conclusion for each:

       104. In breach of the Supply Agreement, defendant Scepter Manufacturing failed and
       refused to supply the Order quantities submitted by plaintiff No Spill.

       106. In breach of the Supply Agreement, Defendant Scepter Manufacturing then
       announced that it refused to manufacture No Spill’s orders on weekends without additional
       charge.

Doc. 1 ¶¶ 104, 106. No Spill does not identify the provisions in the Supply Agreement that were

allegedly breached for either assertion. Nor does No Spill identify any order quantity that was

submitted that Scepter Manufacturing allegedly refused to fulfill. Nor does No Spill specifically

identify when and under what circumstances Scepter Manufacturing refused to manufacture over

weekends, with or without additional charge, or whether manufacture over weekends was

contractually required. No Spill’s single conclusory statement (without reference to the relevant

provisions or facts) for each assertion provides no notice for these alleged breaches.

       Removing legal conclusions, the Complaint does not sufficiently state factual allegations

that establish a failure to meet production requirements under the parties’ Supply Agreement.

Accordingly, No Spill does not state a claim for breach of contract on which relief is entitled.




                                             10
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 18 of 31




               2.      No Spill fails to plead adequate facts to support a breach of
                       contract based on failure to sell the Bekum molding machine.

       No Spill also alleges breach of contract based on Scepter Manufacturing’s alleged refusal

to honor a purchase option within the contract. Doc. 1 ¶ 127. Specifically, No Spill states that the

following terms were breached by Scepter Manufacturing:

       121. Section 9 of the Supply Agreement states: “Option to Purchase Molding Machine
       and Ancillary Equipment. Upon expiration of the Term or other termination of this
       Agreement, Buyer shall have the option, but not the obligation, to purchase the molding
       machine and ancillary equipment used in the production of the Products under the terms
       set forth in Exhibit D of this Agreement” [emphasis in original].

       122. Exhibit D to the Supply Agreement identifies a Bekum blow molding machine by
       serial number, with described ancillary equipment, with a specified Initial Value.

Doc. 1 ¶¶ 121, 122. But these provisions only establish that No Spill had the option of purchasing

a specific Bekum blow molding machine identified by a specific serial number (Model BM-705D,

Serial No. 204705-5-053), and No Spill nowhere in the Complaint alleges facts that support an

allegation that Scepter Manufacturing refused to sell this specific machine. To the contrary, the

facts alleged by No Spill suggest that this specific machine was no longer in service and that the

option was no longer available. Specifically, No Spill admits that as part of its exercise of the

purchase option, it asked “Scepter Manufacturing to state whether a different blow molding

machine was being used to manufacture the Products.” Id. ¶ 125. Noticeably, No Spill fails to

allege specific facts concerning how Scepter Manufacturing refused to sell the Bekum blow

molding machine, Model BM-705D, Serial No. 204705-5-053 and instead simply states Scepter

Manufacturing “refused plaintiff No Spill’s exercise of its option to purchase the machine.” Id.

¶ 126. No Spill should have included these factual allegations but it did not (because it could not).

       Accordingly, this Court should dismiss this claim for failure to state a claim.




                                             11
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 19 of 31




       D.      No Spill Does Not and Cannot Adequately Plead Distinctiveness and
               Non-Functionality, Thus Its Trade Dress Claims Should Be Dismissed

       No Spill’s Complaint also purports to assert claims for trade dress infringement under both

federal and state law. To state either claim, however, No Spill must identify the specific features

of its gas can that allegedly constitute protectable trade dress. No Spill must then plead facts

plausibly demonstrating that, and how, those gas can features (1) are non-functional; and (2) have

acquired distinctiveness, such that they identify No Spill as the source of the gas can. See, e.g.,

Savant Homes, Inc. v. Collins, 809 F.3d 1133, 1147 (10th Cir. 2016) (analyzing elements of trade

dress infringement under the Lanham Act); Jenny Yoo Collection, Inc. v. Essence of Australia,

Inc., No. 17-2666-JAR-GLR, 2018 WL 3744060, at *7-8 (D. Kan. Aug. 7, 2018) (considering

trade dress claim under Kansas common law).

       No Spill does not and cannot meet this pleading standard, as the Complaint is devoid of

facts supporting any claim that No Spill’s gas can features are either non-functional or have

acquired distinctiveness. Rather, No Spill’s asserted features all appear facially functional, as they

merely allow a user to store, handle, and pour gasoline. No Spill’s repetitive assertion that various

elements of its trade dress are “distinctive” does not make them so. Indeed, overcoming the

presumption of functionality “is no easy task” and establishing acquired distinctiveness is “often

the greatest hurdle” for a trade dress plaintiff. See Forney Indus., Inc. v. Daco of Mo., Inc., 835

F.3d 1238, 1244 (10th Cir. 2016); C5 Med. Werks, LLC v. CeramTec GmbH, 249 F. Supp. 3d

1210, 1216 (D. Colo. 2017). No Spill does not rise to the occasion here in either instance, by

overcoming the presumption of functionality or establishing distinctiveness, and thus its claims

should be dismissed.




                                             12
        Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 20 of 31




                  1.      The features of No Spill’s alleged “trade dress.”

          No Spill purports to have trade dress rights in “gas cans with a distinctive plastic nozzle

assembly having a tapered spout,” as pictured below. 4 See Doc. 1 ¶ 36. No Spill attempts to

narrow the claim by identifying the following specific features of its alleged gas can design:

          •   a gas can made from red plastic with a nozzle made from black plastic (id. ¶ 49);
          •   an open handle formed into the top of the fuel storage container of the gas can (id.
              ¶ 42);
          •   a nozzle assembly installed on the top of the gas can adjacent to the open handle (id.
              ¶ 43);
          •   a tapered spout projecting horizontally (id. ¶ 44);
          •   a rotatable collar having spaced, elongated grips around the periphery of the collar,
              which creates an ornamental impression (id. ¶¶ 45-46);
          •   a decorative fin on the underside of the spout (¶ 47); and
          •   a cap for covering the end of the spout, tethered to the spout with a flexible plastic strap
              secured to the underside of the spout near the back of the decorative fin (id. ¶ 48).




No Spill alleges that it has advertised and sold gas cans with these characteristics since 1989. Id.

¶ 36. The rest of the trade dress-related allegations in the Complaint are merely unsupported

legal conclusions, claiming that No Spill’s gas can is “distinctive and non-functional,” and has




4
    No Spill’s can is on the left, while Scepter’s can is on the right. Id. ¶ 41.


                                                13
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 21 of 31




acquired distinctiveness. See id. ¶¶ 36–37. No further supportive facts are alleged. Id. ¶¶ 36–

55; 134–143.

               2.      No Spill’s alleged gas can design is functional on its face and
                       the Complaint contains no factual allegations demonstrating
                       otherwise.

        “It is well established that ‘trade dress protection may not be claimed for product features

that are functional.’” Domo, Inc. v. Grow, Inc., No. 2:17-CV-812, 2018 WL 2172937, at *5 (D.

Utah May 10, 2018) (quoting TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29

(2001)). Trade dress is presumed functional. Product “features are deemed functional until proved

otherwise by the party seeking trade dress protection.” TrafFix Devices, 532 U.S. at 30; see also

15 U.S.C. § 1125(a)(3) (plaintiff asserting unregistered trade dress “has the burden of proving that

the matter sought to be protected is not functional”). A feature is functional if: (1) it is “essential

to the use or purpose of the article or if it affects the cost or quality of the article;’’ or (2) its

“exclusive use . . . would put competitors at a significant non-reputation-related disadvantage.”

Jenny Yoo, 2018 WL 3744060, at *6.

       These basic principles of trade dress law have been applied at the pleading stage to require

“the plaintiff to allege, in more than a conclusory fashion, that the trade dress taken as a whole is

non-functional.” Domo, 2018 WL 2172937, at *5; see also Virgin Scent, Inc. v. Bel Air Naturals

Care Corp., No. 17-08284-AB (RAOx), 2018 WL 5264145, at *4 (C.D. Cal. Feb. 8, 2018)

(requiring a trade dress plaintiff “allege how a trade dress is non-functional”); Dinkum Sys., Inc. v.

Woodman Labs, Inc., No. 14-CV-00152-PAB-KMT, 2014 WL 4437310, at *3 (D. Colo. Sept. 8,

2014) (dismissing claim where plaintiff “allege[d] no facts that describe[d] the nonfunctional

details of the ActionPod products’ ‘look and feel’”); Mike Vaughn Custom Sports, Inc. v. Piku, 15

F. Supp. 3d 735, 746–47 (E.D. Mich. 2014) (“[t]he failure to plead non-functionality with factual



                                              14
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 22 of 31




particularity establishes merely the possibility and not the plausibility of [relief] and is therefore

fatal to Plaintiff’s trade dress claim.”).

        Here, No Spill fails to allege any facts demonstrating that, or how, the alleged trade dress

features of its gas can design are, individually or collectively, non-functional. Rather, the

Complaint relies entirely on conclusory allegations that the design is non-functional, without any

facts to support those conclusions. See, e.g., Doc. 1 ¶ 36-38. In this respect, No Spill’s trade dress

claims are similar to those rejected by the Domo court:

          Because Domo has to state a claim to relief that is plausible on its face, and
          because Domo possesses all the facts about its product, simply making a
          conclusory statement that its ‘features constitute a design choice not driven solely
          by function’ is not sufficient to meet the Iqbal standard under Rule 12(b)(6).

2018 WL 2172937, at *5.

        The absence of any factual allegations addressing the functionality question is particularly

glaring here as the identified trade dress is so blatantly functional on its face. Indeed, the claimed

features simply allow the user to do precisely what a gas can is supposed to do—store, handle, and

pour gasoline. Specifically, No Spill’s identified features enable the user to pick up the gas can

(Doc. 1 ¶ 42 (“open handle formed into the top of the fuel storage container”)), open the gas can

without misplacing the gas can’s cap (id. ¶ 48 (“[t]he cap is tethered to the spout with a flexible

plastic strap secured at one end to the underside of the spout near the back of the decorative fin”), 5




5
  The unexplained and conclusory use of the word “decorative” does not render the fin non-
functional. No Spill has failed to allege facts showing how the fin is “decorative” or non-
functional, and indeed the fin appears on its face to serve the function of preventing the nozzle
from being inserted too far into whatever receptacle is receiving gasoline from the can. See
Deckers Outdoor Corp. v. Fortune Dynamic, Inc., No. CV 15-769 PSG (SSx), 2015 WL
12731929, at *4 (C.D. Cal. May 8, 2015) (holding “Plaintiff’s conclusory statement of non-
functionality fails to sufficiently allege the element, particularly because some features of the
claimed trade dress do perform a utilitarian function in certain contexts (i.e., buttons or adjustable
overlapping flaps)”).



                                              15
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 23 of 31




pour gas from the can (id. ¶¶ 43-44 (“a nozzle assembly installed on the top of the gas can adjacent

[to] the open handle” with “a tapered spout projecting horizontally”)), close the gas can (id. ¶ 48

(“cap for covering the end of the spout”)), and eventually easily refill the gas can (id. ¶ 45 (“a

rotatable collar having spaced, elongated grips”)). 6 Even the red color of the can itself is

functional, as gas cans are often legally required to be red to alert consumers to its dangerous and

flammable contents. See, e.g., 29 C.F.R. § 1910.144 (“Red shall be the basic color for the

identification of . . . [s]afety cans or other portable containers of flammable liquids”); Iowa Code

Ann. § 214A.15 (“A person shall not place gasoline . . . into any can, cask, barrel or other similar

receptacle having a capacity in excess of one pint unless the same is painted bright red . . . ”).

       Granting No Spill exclusive rights over such functional features individually or together

would severely harm competition and be a misuse of trade dress law. TrafFix, 532 U.S. at 29

(noting that “copying” of “functional features” is not “discouraged or disfavored by the law”

because it “preserve[s] our competitive economy” and has “salutary effects” for consumers). No

Spill’s complete failure to address the issue of functionality is telling. It cannot remain silent on

this critical issue and expect to overcome the presumption against it. Because the “only details”

in No Spill’s complaint “describe elements that are undoubtedly functional,” its claims must fail.

See Dinkum Sys., 2014 WL 4437310, at *3 (dismissing claim).

               3.      No Spill fails to adequately plead that its gas can design has
                       acquired distinctiveness.

       No Spill’s trade dress claims should also be dismissed on the additional basis that the

Complaint fails to plead facts that plausibly show that No Spill’s gas can design has acquired


6
  No Spill alleges, without any supporting facts, that the elongated grips “create[] a favorable
ornamental impression.” Doc. 1 ¶ 46. In reality, the grips on the collar enable the user to grip the
collar and turn it more easily to open or close the gas can for refilling—and are, thus, textbook
examples of functional features.


                                             16
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 24 of 31




distinctiveness (i.e., secondary meaning in the minds of consumers).

        The Supreme Court has established that “a product’s design is distinctive, and therefore

protectible [sic], only upon a showing of secondary meaning.” Wal-Mart Stores v. Samara Bros.,

Inc., 529 U.S. 205, 215 (2000); Hammerton, Inc. v. Heisterman, No. 2:06-CV-00806 TS, 2008

WL 2004327, at *6 (D. Utah May 9, 2008) (noting that “courts have exercised particular ‘caution’

when extending protection to product designs.”). To establish secondary meaning, a plaintiff must

show that “in the minds of the public, the primary significance of the [trade dress] is to identify

the source of the product rather than the product itself.” Forney Indus., 835 F.3d at 1245. “Put

differently, secondary meaning exists when ‘in the consumer’s mind the [trade dress] denotes a

single thing coming from a single source.’” Savant Homes, 809 F.3d at 1148 (quoting Sally Beauty

Co. v. Beautyco, Inc., 304 F.3d 964, 978 (10th Cir. 2002)).

        To that end, “[s]econdary meaning may be shown by direct evidence, such as consumer

surveys or testimony from consumers,” as well as through circumstantial evidence, such as:

        (1) the length and manner of the trade dress’s use; (2) the nature and extent of
        advertising and promotion of the trade dress; (3) the efforts made in the direction of
        promoting a conscious connection, in the public’s mind, between the trade dress and a
        particular product or venture; (4) actual consumer confusion; (5) proof of intentional
        copying; or (6) evidence of sales volume.

Savant Homes, 809 F.3d at 1148; Domo, 2018 WL 2172937, at *3 (“the plaintiff should know and

allege some essential facts [regarding secondary meaning] even without the benefit of discovery”

to survive dismissal).

        No Spill fails to allege any of the facts necessary to plausibly plead secondary meaning—

i.e., it does not plead any facts that support the conclusion that its gas can design is a source

identifier in the minds of consumers. Rather, No Spill simply labels certain features of its gas can

as “distinctive” when identifying its alleged trade dress. See, e.g., Doc. 1 ¶ 36 (“a distinctive plastic



                                               17
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 25 of 31




nozzle assembly having a tapered spout” (emphasis added)). Such conclusory pleading is plainly

insufficient, as courts uniformly recognize. See, e.g., Domo, 2018 WL 2172937, at *3 (“But

Domo’s conclusory use of the word ‘distinctive,’ absent any factual allegations, is insufficient to

adequately allege inherent distinctiveness.”); Inspired By Design, LLC v. Sammy’s Sew Shop, LLC,

No. 16-CV-2290, 2016 WL 6093778, at *5 (D. Kan. Oct. 19, 2016) (“[P]laintiff just offers the

conclusory assertion that its trade dress is distinctive . . . . But the Tenth Circuit has rejected this

approach, holding that ‘merely reciting . . . the elements [of an alleged trade dress] does not

[establish] inherent distinctiveness.’”) (quoting Savant Homes, 809 F.3d 1149 (alterations in

original)).

        Nor is it enough for No Spill to simply allege that it has “continuously and substantially

advertised, marketed and sold [its] gas cans . . . [s]ince at least as early as [] 1989.” Doc. 1 ¶¶ 36,

39, 134. Every business advertises and sells products, but that does not mean that every product

advertised and sold qualifies for trade dress protection. See Domo, 2018 WL 2172937, at *4

(dismissing plaintiff’s claims because, while “continuous marketing is a prudent business practice,

[] it hardly warrants an inference that a business achieved such recognition that in the consumer’s

mind its trade dress means a single thing coming from a single source.”). Indeed, No Spill does

not even attempt to show how these activities have created a “conscious connection, in the public’s

mind, between the trade dress” features and itself. Savant Homes, 809 F.3d at 1148. That is

because they have not. See Winning Ways, Inc. v. Holloway Sportswear, Inc., 913 F. Supp. 1454,

1470 (D. Kan. 1996) (“[t]he critical question in considering the evidence is not the extent of the

promotional efforts but their effectiveness in creating an association between the trade dress and

plaintiff.” (internal quotations omitted)); see also Forney Indus., 835 F.3d at 1254 (“[A]dvertising

alone is typically unhelpful to prove secondary meaning when it is not directed at highlighting the



                                              18
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 26 of 31




trade dress.”); Savant Homes, 809 F.3d at 1149 (“Standing alone, sales volume may not be

indicative of secondary meaning because it could be related to factors other than source

identification.”); Inspired By Design, 2016 WL 6093778, at *6 (finding particular sales volume

evidence “insufficient” where “plaintiff provide[d] no evidence tying its sales to its alleged trade

dress”).

        Finally, No Spill’s assertion of trade dress rights over the color red highlights its “misuse

[and] overextension of trade dress” law to stifle competition and (consequently) harm consumers.

TrafFix Devices, 532 U.S. at 29; see Doc. 1 ¶ 49 (“the gas can is made from red plastic”). There

is no plausible way that red could ever “identify the source of the product” (i.e., No Spill) because

such coloring is often legally required to be used on all gas cans and therefore cannot distinguish

one manufacturer from another. See Forney Indus., 835 F.3d at 1245; e.g., 29 C.F.R. § 1910.144

(“Red shall be the basic color for the identification of . . . [s]afety cans or other portable containers

of flammable liquids”); Iowa Code Ann. § 214A.15 (“A person shall not place gasoline . . . into

any can, cask, barrel or other similar receptacle having a capacity in excess of one pint unless the

same is painted bright red . . . .”). Granting No Spill the exclusive right to produce a red gas can

would not only run counter to numerous state laws, but it would harm competition and potentially

expose consumers to unnecessary dangers.

        As No Spill cannot claim its product’s trade dress is inherently distinctive and it alleges

insufficient facts to support a plausible inference that its trade dress has acquired distinctiveness,

its conclusory allegations of distinctiveness must be rejected and its claims should be dismissed.

        E.      The Entire Case Should Be Dismissed, or Alternatively, Transferred
                to the District of Delaware Where Venue Is Proper.

        This entire case should be dismissed for lack of personal jurisdiction and failure to state a

claim. However, in the event the Court allows No Spill to maintain patent claims by transfer to


                                               19
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 27 of 31




the District of Delaware (where jurisdiction and venue are proper against Scepter Manufacturing),

this entire case should be transferred. This includes the contract and trade dress claims to the

extent they survive dismissal since these claims involve related subject matter—namely, plastic

gasoline containers manufactured by Scepter Manufacturing.

        This Court may transfer these ancillary contract and trade dress claims under 28 U.S.C.

§ 1404(a): “For the convenience of parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division where it might have been brought or

to any district or division to which all parties have consented.” In the Tenth Circuit, the Court

weighs the following discretionary factors in deciding transfer:

        the plaintiff's choice of forum; the accessibility of witnesses and other sources of proof,
        including the availability of compulsory process to insure attendance of witnesses; the cost
        of making the necessary proof; questions as to the enforceability of a judgment if one is
        obtained; relative advantages and obstacles to a fair trial; difficulties that may arise from
        congested dockets; the possibility of the existence of questions arising in the area of
        conflict of laws; the advantage of having a local court determine questions of local law;
        and[ ] all other considerations of a practical nature that make a trial easy, expeditious and
        economical.

Sprint, 896 F. Supp. 2d at 1064 (quoting Emp’rs Mut. Cas. Co. v. Bartile Roofs, Inc., 618 F.3d

1153, 1167 (10th Cir. 2010)).

        Here, the substantial inefficiency of requiring Scepter Manufacturing to litigate against the

same plaintiff on claims having related subject matter in two district courts (District of Delaware

for the patent claims and District of Kansas for contract and trade dress claims) militates heavily

in favor of transfer.

                1.      Plaintiff’s choice of forum is entitled to little weight.

        While normally the plaintiff’s choice of forum is given weight, that is not the case here.

First, as discussed above, No Spill knew Scepter Manufacturing is the correct defendant in this

case, but filed this case in an improper forum anyway. As such, No Spill’s assertion of nominal


                                             20
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 28 of 31




contract and trade dress claims in Kansas to maintain venue in this District should be given little,

if any, weight. Second, the trade dress claims have no material connection to this District.

“[C]ourts have given little weight to a plaintiff’s choice of forum where the facts giving rise to the

lawsuit have no material relation or significant connection to the plaintiff’s chosen forum.”

Callahan v. Bledsoe, No. 16-CV-2310-JAR-GLR, 2017 WL 1303269, at *2 (D. Kan. Apr. 6,

2017). With respect to the trade dress claims, “the infringements alleged in the Complaint have

taken place in [Kansas] because Defendant’s products are sold here, [but] they have also taken

place in every other district where Defendant’s products are sold.” Bovino v. Incase Designs

Corp., No. 13-cv-2106-WJM-MJW, 2014 WL 1796914, at * 2 (D. Colo. May 6, 2014). As such,

this factor is neutral at best.

                2.       Convenience of witnesses strongly favors transfer.

        The “convenience of witnesses is the most important factor in deciding a motion under

§ 1404(a).” Nat’l Inst. for Strategic Tech. Acquisition & Commercialization v. Nissan N.A., No.

10-1346-SAC, 2011 WL 915392, at *3 (D. Kan. Mar. 15, 2011). Here, forcing witnesses to travel

to two forums more than 1,000 miles apart places a significant burden on all witnesses. The patent,

contract, and trade dress claims include overlapping subject matter, and thus, the claims also

implicate overlapping witnesses. For example, in pleading each, No Spill alleges harm through

the marketing and sale of gas cans by Scepter Manufacturing. See Doc. 1 ¶¶ 59, 95, 134.

Accordingly, Daniel Marshall, Vice President of Marketing and Business Development at Scepter

Manufacturing, is expected to testify in relation to all claims. Mr. Marshall resides in Hudson,

Ohio. Marshall Decl. ¶ 1. To the extent that the contract and trade dress claims are not litigated

with the patent claims, Mr. Marshall would be forced to travel over 700 miles to attend trial in

Kansas and 400 miles to attend trial in Delaware. Nguyen Decl., Ex. C. There is no legitimate



                                             21
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 29 of 31




dispute that a single, one-and-a-half hour flight to attend trial in Delaware would be substantially

more convenient. This factor weighs strongly in favor of transfer.

               3.      Judicial economy strongly favors transfer.

       “[T]he Court’s interest in avoiding duplicative and piecemeal litigation strongly favors

transfer . . .” Sprint, 896 F. Supp. 2d at 1068. As discussed above, the patent, contract, and trade

dress claims include overlapping issues. This would result in duplicative and piecemeal litigation

that could potentially result in inconsistent determinations. For example, discovery will almost

certainly overlap. To the extent the parties dispute an overlapping discovery issue such as

privilege, two different courts could provide two different conclusions. This result must be

avoided. Accordingly, this factor weighs strongly in favor of transfer.

               4.      Neither court has an appreciably more congested docket.

       Statistics from the Federal Judicial Center indicate that Delaware does not have an

appreciably more congested docket than Kansas. Although the average time to trial for civil cases

in Delaware is 28.7 months, the average time from filing to disposition is 5.5 months. Nguyen

Decl., Ex. D. Similarly, the average time to trial for civil cases in Kansas is 24.5 months and the

average time from filing to disposition is 7.5 months. Id.; see also Nat’l Inst. for Strategic Tech.,

2011 WL 915392, at *7 (“Trial itself is statistically unlikely, however. The Court finds the more

relevant statistic to be the median time from filing to disposition of all cases.”). This factor is

neutral.

               5.      The remaining factors cannot overcome the significant
                       efficiency gained by transfer.

       The efficiency in litigating in a single forum overwhelming support transfer; the remaining

convenience factors do not establish otherwise. Although the advantage of having a local court

determine questions of local law weighs against transfer, the District of Delaware has repeatedly


                                             22
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 30 of 31




applied Kansas law in other cases. See, e.g., Cryovac, Inc. v. Pechiney Plastics Packaging, Inc.,

No. Civ. A. 04-1278-KAJ, 2006 WL 1493840 (D. Del. May 25, 2006) (applying Kansas state law

to a tortious interference claim); Millett v. Truelink, Inc., No. Civ. 05-599-SLR, 2006 WL 2583100

(D. Del. Sept. 7, 2006) (applying Kansas law to a consumer fraud claim). The other factors—

accessibility of sources of proof, availability of compulsory process to insure attendance of

witnesses, the cost of making the necessary proof, questions as to the enforceability of a judgment

if one is obtained, relative advantages and obstacles to a fair trial, and the possibility of the

existence of questions arising in the area of conflict of laws—are neutral. Accordingly, the balance

of factors weighs in favor of transferring the entire case to the District of Delaware.

V.     CONCLUSION

       For the reasons above, Defendants respectfully requests the Court dismiss the patent claims

(Count I and II) for lack of personal jurisdiction, and the contract and trade dress claims (Counts

III to VI) for failure to state of claim. Alternatively, Defendants respectfully request the Court

transfer this entire case to the District of Delaware.

                                               Respectfully submitted,

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                                              23
     Case 2:18-cv-02681-JAR-KGG Document 12 Filed 03/28/19 Page 31 of 31




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                                                  Attorneys for Defendants Scepter Corporation
                                                  and Scepter Manufacturing, LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 28th day of March, 2019, I presented the foregoing to the Clerk
of the Court for filing and uploading to the CM/ECF system that will send notice of electronic
filing to counsel of record.


                                                      s/ Holly A. Dyer
                                                      Holly A. Dyer, KS #16644




                                             24
